

ORDER

PER CURIAM:
AND NOW, this 20th day of March, 1997, Steven J. Fishgold having been suspended from the practice of law in the United States Bankruptcy Court for the Eastern District of Pennsylvania by Order of that Court dated August 29, 1996; the said Steven J. Fishgold having been directed on January 22, 1997, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Steven J. Fishgold is suspended from the practice of law in this Commonwealth consistent with the Order of the United States Bankruptcy Court for the Eastern District of Pennsylvania dated August 29, 1996, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
